                     Case 24-60089           Doc 1       Filed 01/29/24 Entered 01/29/24 14:31:51                              Desc Main
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

WESTERN DISTRICT OF VIRGINIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Champion Brewing Company

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  738 Lexington Ave
                                  Charlottesville, VA 22902
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Charlottesville City                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                   Case 24-60089                 Doc 1      Filed 01/29/24 Entered 01/29/24 14:31:51                                    Desc Main
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Debtor    Champion Brewing Company                                                                     Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   Champion Brewing Company                                                                  Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Champion Brewing Company                                                                  Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       January 29, 2024
                                                  MM / DD / YYYY


                             X /s/       Hunter   William Smith                                            Hunter      William Smith
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Owner




18. Signature of attorney    X /s/ Robert Stevens                                                          Date    January 29, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Robert Stevens
                                 Printed name

                                 Stevens Law Firm
                                 Firm name

                                 501 Grove Ave
                                 Charlottesville, VA 22901
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (434) 973-5012                Email address      bob@scslawfirm.com

                                  VA
                                 Bar number and State




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:

 Debtor name         Champion Brewing Company

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           January 29, 2024                       X /s/ Hunter William Smith
                                                                       Signature of individual signing on behalf of debtor

                                                                        Hunter     William Smith
                                                                       Printed name

                                                                       Owner
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                   Case 24-60089                            Doc 1              Filed 01/29/24 Entered 01/29/24 14:31:51                                                            Desc Main
                                                                                 Document     Page 6 of 47
 Fill in this information to identify the case:

 Debtor name            Champion Brewing Company

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           280,003.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           280,003.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           157,335.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,844,757.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,002,092.00




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                 Case 24-60089                    Doc 1          Filed 01/29/24 Entered 01/29/24 14:31:51            Desc Main
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 Fill in this information to identify the case:

 Debtor name         Champion Brewing Company

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
        Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 1
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 Debtor         Champion Brewing Company                                                      Case number (If known)
                Name

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Champion Brewing trademarks for Shower
            Beer and Missile IPA                                                            $0.00                                                 $1.00


            beer recipes/formulas                                                           $0.00                                                 $1.00


            Champion Brewing trademark                                                      $1.00                                                 $1.00



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.
                                                                                                                                               $3.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         Champion Brewing Company                                                     Case number (If known)
                Name

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                         Current value of
                                                                                                                         debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership
            employee retention credit from IRS - currently held in
            escrow by Shefford & Associates                                                                                       $280,000.00



 78.        Total of Part 11.
                                                                                                                               $280,000.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 3
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 Debtor          Champion Brewing Company                                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                    $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                  $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $3.00

 90. All other assets. Copy line 78, Part 11.                                                   +                 $280,000.00

 91. Total. Add lines 80 through 90 for each column                                                           $280,003.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $280,003.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 4
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 Fill in this information to identify the case:

 Debtor name         Champion Brewing Company

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Champion Brewing Company

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $6,930.00          $5,667.00
           City of Charlottesville                                   Check all that apply.
                                                                        Contingent
           P. O. Box 2854
                                                                        Unliquidated
           Charlottesville, VA 22902-3148
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2021-2023                                                 PP Taxes
           Last 4 digits of account number 7472                      Is the claim subject to offset?
                                                                         No
           Specify Code subsection of PRIORITY
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $150,305.00           $0.00
           City of Charlottesville                                   Check all that apply.
                                                                        Contingent
           P. O. Box 2964
                                                                        Unliquidated
           Charlottesville, VA 22902
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2022                                                      Meals Tax
           Last 4 digits of account number 2612                      Is the claim subject to offset?
                                                                         No
           Specify Code subsection of PRIORITY
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          $100.00         $100.00
           Virginia Employment Commission                            Check all that apply.
                                                                        Contingent
           P. O. Box 27592
                                                                        Unliquidated
           Richmond, VA 23261-7592
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2024                                                      Tax
           Last 4 digits of account number 4799                      Is the claim subject to offset?
                                                                         No
           Specify Code subsection of PRIORITY
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 13
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       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $190,000.00
          360 Ventures, LLC
          Attn: Shahir Kassam-Adams
                                                                                Contingent
          360 Laurel Lane                                                       Unliquidated
          Lovingston, VA 22949                                                  Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Promissory Note
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $26,899.00
          ADP Payroll
                                                                                Contingent
          400 Covina Blvd.                                                      Unliquidated
          San Dimas, CA 91773                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Payroll
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $155.00
          ADT Security Services
                                                                                Contingent
          1501 Yamato Road                                                      Unliquidated
          Boca Raton, FL 33431                                                  Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Utility
          Last 4 digits of account number 9646                               Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $2,860.00
          Albemarle County Service Authority
                                                                                Contingent
          168 Spotnap Road                                                      Unliquidated
          Charlottesville, VA 22911                                             Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Utility
          Last 4 digits of account number 9646                               Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $4,255.00
          Albemarle Heating and Air
                                                                                Contingent
          102 Keystone Place                                                    Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: HVAC Service
          Last 4 digits of account number 2426                               Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $169.00
          American Pest
                                                                                Contingent
          11820 W. Market Place                                                 Unliquidated
          Fulton, MD 20759                                                      Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Pest Control Service
          Last 4 digits of account number 2947                               Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $100,000.00
          AMV Properties, LLC
                                                                                Contingent
          234 Vineyard Lane                                                     Unliquidated
          Afton, VA 22920                                                       Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,000.00
          Anthem Blue Cross Blue Shield
                                                                                Contingent
          P. O. Box 27401                                                       Unliquidated
          Richmond, VA 23279-7401                                               Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Insurance
          Last 4 digits of account number 5491                               Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $63,000.00
          Anthony Smith
                                                                                Contingent
          234 Vineyard Lane                                                     Unliquidated
          Afton, VA 22920                                                       Disputed
          Date(s) debt was incurred 12/23                                    Basis for the claim: subrogation claim of co-debtor
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25,295.00
          Arc3 Gases, Inc.
                                                                                Contingent
          P. O. Box 896866                                                      Unliquidated
          Charlotte, NC 28289-6866                                              Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Utility
          Last 4 digits of account number 0542                               Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25,798.00
          Atlantic Union Bank
                                                                                Contingent
          1051 E. Cary Street                                                   Unliquidated
          Richmond, VA 23219-4044                                               Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Credit Line
          Last 4 digits of account number 8426                               Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,480.00
          Auto-Chlor System
          6301 Stevenson Ave
                                                                                Contingent
          Ste# 1                                                                Unliquidated
          Alexandria, VA 22304                                                  Disputed
          Date(s) debt was incurred 2021                                     Basis for the claim: Dishwasher & Cleaners
          Last 4 digits of account number 7104                               Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $28,343.00
          Beverage Equipment Traders
                                                                                Contingent
          1520 E. Barham Drive                                                  Unliquidated
          San Marcos, CA 92078                                                  Disputed
          Date(s) debt was incurred 2021-2022                                Basis for the claim: Trade debt
          Last 4 digits of account number 1120                               Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,037.00
          Blue Label Packaging
                                                                                Contingent
          3750 Lancaster New Lexington Road, S.E.                               Unliquidated
          Lancaster, OH 43130                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 1213                               Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,392.00
          Blue Ridge Graphics
                                                                                Contingent
          550 Meade Ave                                                         Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 6813                               Is the claim subject to offset?      No         Yes




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 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $24,448.00
          Bluevine
                                                                                Contingent
          377 W. Louise Ave                                                     Unliquidated
          Manteca, CA 95336                                                     Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,762.00
          Brethren Mutual Insurance
                                                                                Contingent
          149 N. Edgewood Drive                                                 Unliquidated
          Hagerstown, MD 21740                                                  Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Insurance
          Last 4 digits of account number 7367                               Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,769.00
          Brewers Supply Group
          715 First Ave West
                                                                                Contingent
                                                                                Unliquidated
          Shakopee, MN 55379                                                    Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 5200                               Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,222.00
          Capital One
                                                                                Contingent
          P.O.Box 71087                                                         Unliquidated
          Charlotte, NC 28272-1087                                              Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Credit card purchases
          Last 4 digits of account number 5156                               Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,250.00
          Carta, Inc.
                                                                                Contingent
          333 Bush Street                                                       Unliquidated
          San Francisco, CA 94104                                               Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 0001                               Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,300.00
          Cavalier Produce
                                                                                Contingent
          170 Ferncliff Drive                                                   Unliquidated
          Louisa, VA 23093                                                      Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $333,000.00
          CBC Lender, LLC
          Attn: Tony Smith
                                                                                Contingent
          711 Evergreen Ave                                                     Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Promissory Note
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,028.00
          Chase Ultimate Rewards
                                                                                Contingent
          P. O. Box 1423                                                        Unliquidated
          Charlotte, NC 28201-1423                                              Disputed
          Date(s) debt was incurred 2015                                     Basis for the claim: Credit card purchases
          Last 4 digits of account number 1854                               Is the claim subject to offset?      No         Yes



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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,616.00
          Chem Station Virginia, LLC
                                                                                Contingent
          P. O. Box 933021                                                      Unliquidated
          Cleveland, OH 44193                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 4408                               Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,226.00
          City of Charlottesville
                                                                                Contingent
          P. O. Box 2964                                                        Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Business License
          Last 4 digits of account number 6841                               Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,698.00
          CLC Royalty Operations
          1075 Peachtreet Street
                                                                                Contingent
          Ste#300                                                               Unliquidated
          Atlanta, GA 30309                                                     Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 4284                               Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,460.00
          Crest Food Service Equipment
                                                                                Contingent
          P. O. Box 3367                                                        Unliquidated
          Virginia Beach, VA 23454                                              Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Restaurant Equipment
          Last 4 digits of account number 2286                               Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $24,873.00
          Davis Wright Tremaine
          1300 SW Fifth Street
                                                                                Contingent
          Ste#2400                                                              Unliquidated
          Portland, OR 97201                                                    Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 3992                               Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,077.00
          Dominion Energy Virginia
                                                                                Contingent
          600 E. Canal Street                                                   Unliquidated
          Richmond, VA 23219-3852                                               Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Utility
          Last 4 digits of account number 1612                               Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $28,232.00
          EFS Tax Prep
                                                                                Contingent
          P. O. Box 41                                                          Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2021-2022                                Basis for the claim: Professional Services
          Last 4 digits of account number 5701                               Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,929.00
          Ekos Software
          2520 N. Brevard St.
                                                                                Contingent
          Ste# 200                                                              Unliquidated
          Charlotte, NC 28205                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Professional Services
          Last 4 digits of account number 9336                               Is the claim subject to offset?      No         Yes


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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,621.00
          Foods for Thought, Inc.
                                                                                Contingent
          2646 Paynes Mill Road                                                 Unliquidated
          Troy, VA 22974                                                        Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 7068                               Is the claim subject to offset?      No         Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40,083.00
          Hantzmon Wiebel, LLP
                                                                                Contingent
          P. O. Box 1408                                                        Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2020                                     Basis for the claim: Professional Service
          Last 4 digits of account number 6825                               Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,230.00
          Hershey Equipment Company
                                                                                Contingent
          255 Plane Tree Drive                                                  Unliquidated
          Lancaster, PA 17603                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 2509                               Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $109.00
          Hoodz
                                                                                Contingent
          19478 Brandy Road                                                     Unliquidated
          Brandy Station, VA 22714                                              Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 4025                               Is the claim subject to offset?      No         Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $133,488.00
          HopUnion
                                                                                Contingent
          203 Division Street                                                   Unliquidated
          Yakima, WA 98902                                                      Disputed
          Date(s) debt was incurred 2016                                     Basis for the claim: Trade debt
          Last 4 digits of account number R807                               Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $907.00
          In Touch Labels & Packaging
                                                                                Contingent
          30 Payton Street                                                      Unliquidated
          Lowell, MA 01852                                                      Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 0531                               Is the claim subject to offset?      No         Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,115.00
          Independent Brewers Alliance
                                                                                Contingent
          P. O. Box 454                                                         Unliquidated
          Rumson, NJ 07760                                                      Disputed
          Date(s) debt was incurred 2021                                     Basis for the claim: Trade debt
          Last 4 digits of account number 01CB                               Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,042.00
          Ingersoll Rand, Inc.
                                                                                Contingent
          402 Edwardia Drive                                                    Unliquidated
          Greensboro, NC 27409                                                  Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 3001                               Is the claim subject to offset?      No         Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $37,284.00
          Iron Heart Canning Co.
                                                                                Contingent
          P. O. Box 986500                                                      Unliquidated
          Boston, MA 02298                                                      Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 4490                               Is the claim subject to offset?      No         Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $31,778.00
          J. R. Hadley
                                                                                Contingent
          214 Harvest Drive                                                     Unliquidated
          Charlottesville, VA 22903                                             Disputed
          Date(s) debt was incurred 2020                                     Basis for the claim: Partner Buyout
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,073.00
          Jasper Yeast
          23600 Overland Drive
                                                                                Contingent
          Ste# 150                                                              Unliquidated
          Sterling, VA 20166                                                    Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 0892                               Is the claim subject to offset?      No         Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,700.00
          Little Concrete Services
                                                                                Contingent
          6005 Union Mills Road                                                 Unliquidated
          Troy, VA 22974                                                        Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 1537                               Is the claim subject to offset?      No         Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,790.00
          Logistic Dynamics
                                                                                Contingent
          P. O. Box 975297                                                      Unliquidated
          Detroit, MI 48267-5297                                                Disputed
          Date(s) debt was incurred 2021                                     Basis for the claim: Trade debt
          Last 4 digits of account number C390                               Is the claim subject to offset?      No         Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $19,724.00
          MicroStar Keg Managment
                                                                                Contingent
          P. O. Box 912392                                                      Unliquidated
          Denver, CO 80291-2857                                                 Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 3594                               Is the claim subject to offset?      No         Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $22,198.00
          Niagara Label
                                                                                Contingent
          12715 Lewis Road                                                      Unliquidated
          Akron, NY 14001                                                       Disputed
          Date(s) debt was incurred 2021                                     Basis for the claim: Trade debt
          Last 4 digits of account number 3653                               Is the claim subject to offset?      No         Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $57,584.00
          O'Connor Property Management LLC
          OCT Stonefield Property Owner #1
          240 Royal Palm Way
                                                                                Contingent
          Ste# 200                                                              Unliquidated
          Palm Beach, FL 33480                                                  Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Rent
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


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 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          Orchestra Software
          420 Linden St.
                                                                                Contingent
          Ste# 200                                                              Unliquidated
          Fort Collins, CO 80524                                                Disputed
          Date(s) debt was incurred 20212-022                                Basis for the claim: Professional Services
          Last 4 digits of account number 6624                               Is the claim subject to offset?      No         Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $48,568.00
          PBM Ice House
          c/o Tiger Lily Capital LLC
                                                                                Contingent
          200 Garrett St., Ste O                                                Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $206,000.00
          Peter C. Fenlon, Jr.
                                                                                Contingent
          804 Elliott Ave                                                       Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Promissory Note
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,647.00
          Piedmont Facilities Management
                                                                                Contingent
          2811 Hydraulic Rd.                                                    Unliquidated
          Charlottesville, VA 22901                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 6375                               Is the claim subject to offset?      No         Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,196.00
          ProLift Garage Doors
          126 Garrett St.
                                                                                Contingent
          Ste J                                                                 Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2021                                     Basis for the claim: Trade debt
          Last 4 digits of account number 4372                               Is the claim subject to offset?      No         Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,330.00
          Reliant Fish Company
                                                                                Contingent
          7701 Assateague Drive                                                 Unliquidated
          Jessup, MD 20794                                                      Disputed
          Date(s) debt was incurred 2023                                     Basis for the claim: Trade debt
          Last 4 digits of account number A500                               Is the claim subject to offset?      No         Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,809.00
          Roberts Oxygen Co., Inc.
                                                                                Contingent
          P. O. Box 5507                                                        Unliquidated
          Derwood, MD 20855                                                     Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 4892                               Is the claim subject to offset?      No         Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,257.00
          Sam Rust Seafood, Inc.
                                                                                Contingent
          620 Regional Drive                                                    Unliquidated
          Hampton, VA 23661                                                     Disputed
          Date(s) debt was incurred 2022-2023                                Basis for the claim: Trade debt
          Last 4 digits of account number 2642                               Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 8 of 13
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 Debtor       Champion Brewing Company                                                                Case number (if known)
              Name

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $12,949.00
          Sequoia Insurance
          8948 Canyon Falls Blvd.
                                                                                Contingent
          Ste# 200                                                              Unliquidated
          Twinsburg, OH 44087                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Insurance
          Last 4 digits of account number 2906                               Is the claim subject to offset?      No         Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,850.00
          Servpro of Charlottesville
                                                                                Contingent
          P. O. Box 7283                                                        Unliquidated
          Charlottesville, VA 22906                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 0523                               Is the claim subject to offset?      No         Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,230.00
          SKA Fabrication
          Attn: Bradley T. Frazier, Esq.
                                                                                Contingent
          P.O.Box 163                                                           Unliquidated
          Rico, CO 81332                                                        Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,896.00
          Skyline Tent
                                                                                Contingent
          1327 Carlton Ave                                                      Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2022-2023                                Basis for the claim: Trade debt
          Last 4 digits of account number 0422                               Is the claim subject to offset?      No         Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,318.00
          Southeast Industrical Equipment
                                                                                Contingent
          P. O. Box 63230                                                       Unliquidated
          Charlotte, NC 28263-3230                                              Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 4825                               Is the claim subject to offset?      No         Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,781.00
          Square Peg Project Management
          809 Bolling Ave
                                                                                Contingent
          Unit C                                                                Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 4015                               Is the claim subject to offset?      No         Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $14,328.00
          Standard Produce Co.
                                                                                Contingent
          140 Garrett St.                                                       Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2021-2022                                Basis for the claim: Trade debt
          Last 4 digits of account number 3296                               Is the claim subject to offset?      No         Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,518.00
          Sysco
                                                                                Contingent
          P. O. Box 20020                                                       Unliquidated
          Harrisonburg, VA 22801                                                Disputed
          Date(s) debt was incurred 2022-2023                                Basis for the claim: Trade debt
          Last 4 digits of account number 0253                               Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 9 of 13
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 Debtor       Champion Brewing Company                                                                Case number (if known)
              Name

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $50.00
          T & N Printing
                                                                                Contingent
          205 12th St. NE                                                       Unliquidated
          Charlottesville, VA 22902                                             Disputed
          Date(s) debt was incurred 2021-2022                                Basis for the claim: Professional Service
          Last 4 digits of account number 3995                               Is the claim subject to offset?      No         Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $130,432.00
          Toast Capital Web Bank
                                                                                Contingent
          401 Park Drive                                                        Unliquidated
          Boston, MA 02215                                                      Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $529,400.00
          U. S. Small Business Administration
          400 N. 8th Street
                                                                                Contingent
          Ste# 1150                                                             Unliquidated
          Richmond, VA 23219                                                    Disputed
          Date(s) debt was incurred 2020                                     Basis for the claim: Loan
          Last 4 digits of account number 3178                               Is the claim subject to offset?      No         Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $401.00
          Uline
                                                                                Contingent
          P. O. Box 88741                                                       Unliquidated
          Chicago, IL 60680-1741                                                Disputed
          Date(s) debt was incurred 2021                                     Basis for the claim: Trade debt
          Last 4 digits of account number 8278                               Is the claim subject to offset?      No         Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,440.00
          Valley Restaurant Repair, Inc.
                                                                                Contingent
          1983 Jefferson Highway                                                Unliquidated
          Fishersville, VA 22939                                                Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 9108                               Is the claim subject to offset?      No         Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,940.00
          Vermont Information Processing
                                                                                Contingent
          402 Watertower Circle                                                 Unliquidated
          Colchester, VT 05446                                                  Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 2051                               Is the claim subject to offset?      No         Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,610.00
          Veteran Draft Services, LLC
                                                                                Contingent
          2931 Taylor Spring Lane                                               Unliquidated
          Harrisonburg, VA 22801                                                Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 2299                               Is the claim subject to offset?      No         Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,412.00
          Videojet
                                                                                Contingent
          1500 Mittel Blvd.                                                     Unliquidated
          Wood Dale, IL 60191                                                   Disputed
          Date(s) debt was incurred 2021-2022                                Basis for the claim: Trade debt
          Last 4 digits of account number 5265                               Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 10 of 13
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              Name

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $54,540.00
          Virginia Linen Service
                                                                                Contingent
          702 B Railroad Ave                                                    Unliquidated
          Bedford, VA 24523                                                     Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $200,000.00
          Virginia Pacific Investments, LLC
          Attn: Allan H. Cadgene, Esq.
          2088 Union Street
                                                                                Contingent
          Ste# 1                                                                Unliquidated
          San Francisco, CA 94123                                               Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $36,644.00
          W. A. Lynch Roofing Co., Inc.
                                                                                Contingent
          1234 River Road                                                       Unliquidated
          Charlottesville, VA 22901                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 2069                               Is the claim subject to offset?      No         Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,100.00
          Wegmans Food Markets, Inc.
                                                                                Contingent
          100 Wegmans Market Street                                             Unliquidated
          Rochester, NY 14624                                                   Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,165.00
          West Rock
                                                                                Contingent
          1000 Abernathy Road, NE                                               Unliquidated
          Atlanta, GA 30328                                                     Disputed
          Date(s) debt was incurred 2021                                     Basis for the claim: Trade debt
          Last 4 digits of account number 3840                               Is the claim subject to offset?      No         Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $83,300.00
          Wilson A. Richey
                                                                                Contingent
          1883 Pine Cone Circle                                                 Unliquidated
          Charlottesville, VA 22901                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,500.00
          Wine & Beer Supply, LLC
          12015 North Lakeridge Pkwy.
                                                                                Contingent
          Ste# 100                                                              Unliquidated
          Ashland, VA 23005                                                     Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim: Trade debt
          Last 4 digits of account number 3305                               Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 11 of 13
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              Name

 3.79      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,600.00
           WNRN
           2250 Old Ivy Road
                                                                                Contingent
           Ste# 2                                                               Unliquidated
           Charlottesville, VA 22903-4820                                       Disputed
           Date(s) debt was incurred 2022-2023                               Basis for the claim: Trade debt
           Last 4 digits of account number 1679                              Is the claim subject to offset?         No      Yes


 3.80      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $17,050.00
           Woodward Properties
                                                                                Contingent
           224 14th Street N.W.                                                 Unliquidated
           Charlottesville, VA 22903                                            Disputed
           Date(s) debt was incurred 2022                                    Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?         No      Yes


 3.81      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $57,425.00
           Yakima Quality Hops
                                                                                Contingent
           5201 W. Chestnut Ave                                                 Unliquidated
           Yakima, WA 98908                                                     Disputed
           Date(s) debt was incurred 2022                                    Basis for the claim: Trade debt
           Last 4 digits of account number                                   Is the claim subject to offset?         No      Yes


 3.82      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,772.00
           YCH Hops
                                                                                Contingent
           306 Division Street                                                  Unliquidated
           Yakima, WA 98902                                                     Disputed
           Date(s) debt was incurred 2017                                    Basis for the claim: Trade debt
           Last 4 digits of account number 3588                              Is the claim subject to offset?         No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       Altus Receivables Management
           2121 Airline Drive                                                                         Line     3.2
           Ste# 520
                                                                                                             Not listed. Explain
           Metairie, LA 70002

 4.2       Barr Credit Services
           3444 N. County Club Road                                                                   Line     3.42
           Ste# 200
                                                                                                             Not listed. Explain
           Tucson, AZ 85716

 4.3       CMI Legal
           P. O. Box 456                                                                              Line     3.12
           Upper Darby, PA 19082
                                                                                                             Not listed. Explain

 4.4       Contact Callers
           P. O. Box 2207                                                                             Line     3.29
           Augusta, GA 30903-2207
                                                                                                             Not listed. Explain

 4.5       Dunn-Corporation
           1660 Highway 301 South                                                                     Line     3.10
           Dunn, NC 28334
                                                                                                             Not listed. Explain


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 12 of 13
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               Name

            Name and mailing address                                                             On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.6        McGuire Woods, LLP
            323 Second St. SE                                                                    Line     3.72
            Ste#700
                                                                                                        Not listed. Explain
            Charlottesville, VA 22902

 4.7        Receivables Control Corp.
            7373 Kirkwood Court                                                                  Line     3.18
            Ste# 200
                                                                                                        Not listed. Explain
            Maple Grove, MN 55369

 4.8        Scott Kroner PLC
            418 E. Water Street                                                                  Line     3.21
            Charlottesville, VA 22902
                                                                                                        Not listed. Explain

 4.9        The Leviton Law Firm
            One Pierce Place                                                                     Line     3.2
            Ste# 725W
                                                                                                        Not listed. Explain
            Itasca, IL 60143

 4.10       U.S. Small Business Administration
            409 Third Street, SW                                                                 Line     3.19
            Washington, DC 20024
                                                                                                        Not listed. Explain

 4.11       U.S. Small Business Administration
            409 Third Street, SW                                                                 Line     3.66
            Washington, DC 20024
                                                                                                        Not listed. Explain

 4.12       Verliance
            43525 Ridge Park Drive                                                               Line     3.17
            Ste# 300
                                                                                                        Not listed. Explain
            Temecula, CA 92590


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                    157,335.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  2,844,757.00

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.          $                    3,002,092.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 13 of 13
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 Fill in this information to identify the case:

 Debtor name         Champion Brewing Company

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Champion Brewing Company

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:
     2.1     Hunter Smith                      738 Lexington Ave                                Standard Produce                    D
                                               Charlottesville, VA 22902                        Co.                                 E/F       3.62
                                                                                                                                    G



     2.2     Hunter Smith                      738 Lexington Ave                                Virginia Linen                      D
                                               Charlottesville, VA 22902                        Service                             E/F       3.72
                                                                                                                                    G



     2.3     Hunter Smith                      738 Lexington Ave                                Cavalier Produce                    D
                                               Charlottesville, VA 22902                                                            E/F       3.21
                                                                                                                                    G



     2.4     Hunter Smith                      738 Lexington Ave                                Virginia Pacific                    D
                                               Charlottesville, VA 22902                        Investments, LLC                    E/F       3.73
                                                                                                                                    G



     2.5     Hunter Smith                      738 Lexington Ave                                J. R. Hadley                        D
                                               Charlottesville, VA 22902                                                            E/F       3.41
                                                                                                                                    G



     2.6     Hunter Smith                      738 Lexington Ave                                SKA Fabrication                     D
                                               Charlottesville, VA 22902                                                            E/F       3.58
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 2
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 Debtor       Champion Brewing Company                                                    Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

     2.7     Hunter Smith                      738 Lexington Ave                               Bluevine                   D
                                               Charlottesville, VA 22902                                                  E/F       3.16
                                                                                                                          G



     2.8     Hunter Smith                      738 Lexington Ave                               PBM Ice House              D
                                               Charlottesville, VA 22902                                                  E/F       3.49
                                                                                                                          G



     2.9     Hunter Smith                      738 Lexington Ave                               Woodward                   D
                                               Charlottesville, VA 22902                       Properties                 E/F       3.80
                                                                                                                          G



             Hunter Smith                      738 Lexington Ave                               AMV Properties, LLC        D
    2.10                                       Charlottesville, VA 22902                                                  E/F       3.7
                                                                                                                          G



             Hunter Smith                      738 Lexington Ave                               Wilson A. Richey           D
    2.11                                       Charlottesville, VA 22902                                                  E/F       3.77
                                                                                                                          G



             Tony Smith                        711 Evergreen Ave                               U. S. Small Business       D
    2.12                                       Charlottesville, VA 22902                       Administration             E/F       3.66
                                                                                                                          G




Official Form 206H                                                         Schedule H: Your Codebtors                               Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Champion Brewing Company

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                    Gross revenue
       which may be a calendar year                                                            Check all that apply                  (before deductions and
                                                                                                                                     exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                    $0.00
       From 01/01/2024 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                         $701,534.00
       From 01/01/2023 to 12/31/2023
                                                                                                   Other


       For year before that:                                                                       Operating a business                       $1,917,045.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue     Gross revenue from
                                                                                                                                     each source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1

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 Debtor       Champion Brewing Company                                                                  Case number (if known)




           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.                                                                                                                           Secured debt
               First Citizens Bank                                         12/23                            $45,820.00
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other First Citizens had the
                                                                                                                                 1st blanket lien on assets of
                                                                                                                                 Champion, and the landlord,
                                                                                                                                 Seminole Trail Properties,
                                                                                                                                 purchased all remaining
                                                                                                                                 equipment of Champion from
                                                                                                                                 First Citizens in the above
                                                                                                                                 amount


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address
       7.1.    Blue Ridge Bank v. Hunter                        breach of contract         Page County Circuit Court                       Pending
               Smith, Anthony Smith and                                                                                                    On appeal
               Champion Brewery                                                                                                            Concluded




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 Debtor       Champion Brewing Company                                                                     Case number (if known)



               Case title                                       Nature of case               Court or agency's name and             Status of case
               Case number                                                                   address
       7.2.    Virginia Pacific Investments                     breach of lease              Charlottesville Circuit Court                 Pending
               v. Champion Hospitality                                                                                                     On appeal
               Group, 422 Chance LLC and                                                                                                   Concluded
               Hunter Smith


       7.3.    Cavalier Produce v.                              breach of contract           Charlottesville Circuit Court                 Pending
               Champion Brewery and                                                                                                        On appeal
               Hunter Smith                                                                                                                Concluded


       7.4.    Virginia Linen v. Champion                       breach of contract           Charlottesville Circuit Court                 Pending
               Brewing, Paper Canoe LLC,                                                                                                   On appeal
               422 Chance LLC and Hunter                                                                                                   Concluded
               Smith


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value

       9.1.    Chris Long Foundation                            paid by Champion Grill to local charity
                                                                that supports clean water in East Africa                   5/23                             $2,750.00

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).
       employees of Paper Canoe LLC                                                                                        6/23                             $1,000.00
       took the last of the liquor from the                     none
       restaurant


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

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           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.
                 Robert Stevens
                                                                                                                               1/24                     $3,162.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers            Total amount or
                                                                                                                       were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     610 Cami Lane                                                                                             2013-11/21
                 Charlottesville, VA 22902

       14.2.     1180 Seminole Trail                                                                                       12/21-12/22
                 Charlottesville, VA 22901

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides
                                                                the debtor provides                                                      meals and housing,
                                                                                                                                         number of patients in
                                                                                                                                         debtor’s care

 Part 9:       Personally Identifiable Information
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16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or           Date account was          Last balance
              Address                                           account number            instrument                   closed, sold,         before closing or
                                                                                                                       moved, or                      transfer
                                                                                                                       transferred
       18.1.    Wells Fargo Bank                                XXXX-                        Checking                  8/23 - accounts                     $0.00
                                                                                             Savings                   for Champion
                                                                                             Money Market              Brewing, 422
                                                                                             Brokerage
                                                                                                                       Chance and
                                                                                             Other
                                                                                                                       Paper Canoe


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?
       Kathy's Produce                                               Hunter Smith and Jason               kegs, cans and other food               No
       221 Carlton Avenue                                            Okusa                                products                                Yes
       Charlottesville, VA 22902



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

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For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Paper Canoe LLC                                  Brasserie restaurant                             EIN:         XX-XXXXXXX
             111 East Main Street
             Charlottesville, VA 22902                                                                         From-To      2016-2023

    25.2.    422 Champs LLC                                   Passiflora restaurant                            EIN:         XX-XXXXXXX
             422 East Main Street
             Charlottesville, VA 22902                                                                         From-To      2019-2020

    25.3.    Grill and Chill LLC                              Champion Grill                                   EIN:         XX-XXXXXXX
             2075 Bond Street, Suite 180
             Charlottesville, VA 22901                                                                         From-To      2019-2022




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    25.4.    Champion Brewing Company                         Champion Brewing Lynchburg                       EIN:        XX-XXXXXXX
             of Lynchburg LL                                  restaurant
             1021 Main Street                                                                                  From-To     2020-2022
             Lynchburg, VA 24504

    25.5.    Reasonable LLC                                   Reason Beer restaurant                           EIN:        XX-XXXXXXX
             1180 Seminole Trail, Suite
             290                                                                                               From-To     2017-2022
             Charlottesville, VA 22901


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Equity Financial Services                                                                                            2017-2023
                    0 Court Square
                    Charlottesville, VA 22902

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Hunter Smith
                    738 Lexington Avenue
                    Charlottesville, VA 22902
       26c.2.       Jonathan Cross
                    477 Madison Avenue, 6th Floor
                    New York, NY 10022

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.




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               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Jason Okusa
       .                                                                                     2/23                    $20K

               Name and address of the person who has possession of
               inventory records
               Hunter Smith
               738 Lexington Avenue
               Charlottesville, VA 22902


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Hunter Smith                                  738 Lexington Avenue                                 CEO with 33%                      12/12-7/23
                                                     Charlottesville, VA 22902                            ownership interest in
                                                                                                          Champion Brewing
       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Anthony Smith                                 234 Vineyard Lane                                    33% interest via CBC              12/12-7/23
                                                     Afton, VA 22920                                      Founders in Champion
                                                                                                          Brewing
       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Anthony Smith                                 234 Vineyard Lane                                    general member with               12/12-7/23
                                                     Afton, VA 22920                                      12.5% ownership
                                                                                                          interest in Champion
                                                                                                          Brewing
       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       360 Ventures LLC                              360 Laurel Lane                                      11.64% interest in                12/19-7/23
                                                     Lovingston, VA 22949                                 Champion Brewing -
                                                                                                          owner Shahir
                                                                                                          Kassam-Adams
       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Thomas Dukes, Jr.                             1000 Monticello Road                                 director with 3.2%                12/19-7/23
                                                     Charlottesville, VA 22902                            interest

       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Peter Fenlon                                  804 Elliott Avenue                                   former director at 4.3%           2020-12/22
                                                     Charlottesville, VA 22902                            interest




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       Name                                          Address                                              Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Hosea Mitchell                                1000 Monticello Road                                 director with 1.8%              2020-12/22
                                                     Charlottesville, VA 22902                            interest

       Name                                          Address                                              Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Jonathan Chasen                               2073 Afton Drive                                     member with 1.3%                2019-12/22
                                                     Charlottesville, VA 22911                            interest

       Name                                          Address                                              Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Greg Bartleski                                1100 Altivista Avenue                                member with .67%                2019-12/22
                                                     Charlottesville, VA 22902                            interest

       Name                                          Address                                              Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Otavio Friere                                 2585 Montgomery Ridge Road                           member with .44%                2020-12/22
                                                     Charlottesville, VA 22911                            interest

       Name                                          Address                                              Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Benjamin Feiner                               2745 Leeds Lane                                      member with 1.1%                2019-12/22
                                                     Charlottesville, VA 22903                            interest

       Name                                          Address                                              Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Thomas Donne                                  730 Park Street                                      member with .22%                2019-12/22
                                                     Charlottesville, VA 22902                            interest

       Name                                          Address                                              Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Lori Murray                                   87 Ridgeview Road                                    member with .22%                2019-12/22
                                                     Brightwood, VA 22715                                 interest

       Name                                          Address                                              Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Lory Stolzenberg                              107 West Water Street, #12                           member with .21%                2021-12/22
                                                     Charlottesville, VA 22902                            interest

       Name                                          Address                                              Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Danielle Smith                                738 Lexington Avenue                                 member at .22% interest         2012-12/23
                                                     Charlottesville, VA 22902

       Name                                          Address                                              Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Reasonable LLC                                1180 Seminole Trail, Suite 290                       member with 15%                 2022
                                                     Charlottesville, VA 22901                            interest - owned by
                                                                                                          Jeffrey Raileanu, Mark
                                                                                                          Fulton and Patrick Adair




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       Name                                          Address                                              Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       BCS Holdings LLC                              1 East Beverly Street                                member with 3.7%                 12/21-12/22
                                                     Staunton, VA 24401                                   interest - owned by Seth
                                                                                                          Liskey, Benjamin Carr
                                                                                                          and Chip & Jennifer
                                                                                                          Clarke

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Hunter Smith                                        paid back wages in the amount of
       .                                                        $50,000                                                  4/23

               Relationship to debtor
               owner and CEO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          January 29, 2024

 /s/    Hunter      William Smith                                        Hunter      William Smith
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                  Western District of Virginia
 In re       Champion Brewing Company                                                                                                              Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $                  3,162.00
             Prior to the filing of this statement I have received .......................................................                     $                  3,162.00
             Balance Due ...................................................................................................................   $                      0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       b. [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     January 29, 2024                                                                                     /s/ Robert Stevens
     Date                                                                                                 Robert Stevens
                                                                                                          Signature of Attorney
                                                                                                          Stevens Law Firm
                                                                                                          501 Grove Ave
                                                                                                          Charlottesville, VA 22901
                                                                                                          (434) 973-5012 Fax:
                                                                                                          bob@scslawfirm.com
                                                                                                          Name of law firm




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                                                             United States Bankruptcy Court
                                                                     Western District of Virginia
 In re      Champion Brewing Company                                                                 Case No.
                                                                                  Debtor(s)          Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


I, the Owner of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:        January 29, 2024                                         /s/ Hunter William Smith
                                                                        Hunter William Smith/Owner
                                                                       Signer/Title




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                         360 Ventures, LLC
                         Attn: Shahir Kassam-Adams
                         360 Laurel Lane
                         Lovingston, VA 22949


                         ADP Payroll
                         400 Covina Blvd.
                         San Dimas, CA 91773


                         ADT Security Services
                         1501 Yamato Road
                         Boca Raton, FL 33431


                         Albemarle County Service Authority
                         168 Spotnap Road
                         Charlottesville, VA 22911


                         Albemarle Heating and Air
                         102 Keystone Place
                         Charlottesville, VA 22902


                         Altus Receivables Management
                         2121 Airline Drive Ste# 520
                         Metairie, LA 70002


                         American Pest
                         11820 W. Market Place
                         Fulton, MD 20759


                         AMV Properties, LLC
                         234 Vineyard Lane
                         Afton, VA 22920


                         Anthem Blue Cross Blue Shield
                         P. O. Box 27401
                         Richmond, VA 23279-7401


                         Anthony Smith
                         234 Vineyard Lane
                         Afton, VA 22920


                         Arc3 Gases, Inc.
                         P. O. Box 896866
                         Charlotte, NC 28289-6866


                         Atlantic Union Bank
                         1051 E. Cary Street
                         Richmond, VA 23219-4044


                         Auto-Chlor System
                         6301 Stevenson Ave Ste# 1
                         Alexandria, VA 22304


                         Barr Credit Services
                         3444 N. County Club Road Ste# 200
                         Tucson, AZ 85716
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                         Beverage Equipment Traders
                         1520 E. Barham Drive
                         San Marcos, CA 92078


                         Blue Label Packaging
                         3750 Lancaster New Lexington Road, S.E.
                         Lancaster, OH 43130


                         Blue Ridge Graphics
                         550 Meade Ave
                         Charlottesville, VA 22902


                         Bluevine
                         377 W. Louise Ave
                         Manteca, CA 95336


                         Brethren Mutual Insurance
                         149 N. Edgewood Drive
                         Hagerstown, MD 21740


                         Brewers Supply Group
                         715 First Ave West
                         Shakopee, MN 55379


                         Capital One
                         P.O.Box 71087
                         Charlotte, NC 28272-1087


                         Carta, Inc.
                         333 Bush Street
                         San Francisco, CA 94104


                         Cavalier Produce
                         170 Ferncliff Drive
                         Louisa, VA 23093


                         CBC Lender, LLC
                         Attn: Tony Smith
                         711 Evergreen Ave
                         Charlottesville, VA 22902


                         Chase Ultimate Rewards
                         P. O. Box 1423
                         Charlotte, NC 28201-1423


                         Chem Station Virginia, LLC
                         P. O. Box 933021
                         Cleveland, OH 44193


                         City of Charlottesville
                         P. O. Box 2964
                         Charlottesville, VA 22902


                         CLC Royalty Operations
                         1075 Peachtreet Street Ste#300
                         Atlanta, GA 30309
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                         CMI Legal
                         P. O. Box 456
                         Upper Darby, PA 19082


                         Contact Callers
                         P. O. Box 2207
                         Augusta, GA 30903-2207


                         Crest Food Service Equipment
                         P. O. Box 3367
                         Virginia Beach, VA 23454


                         Davis Wright Tremaine
                         1300 SW Fifth Street Ste#2400
                         Portland, OR 97201


                         Dominion Energy Virginia
                         600 E. Canal Street
                         Richmond, VA 23219-3852


                         Dunn-Corporation
                         1660 Highway 301 South
                         Dunn, NC 28334


                         EFS Tax Prep
                         P. O. Box 41
                         Charlottesville, VA 22902


                         Ekos Software
                         2520 N. Brevard St. Ste# 200
                         Charlotte, NC 28205


                         Foods for Thought, Inc.
                         2646 Paynes Mill Road
                         Troy, VA 22974


                         Hantzmon Wiebel, LLP
                         P. O. Box 1408
                         Charlottesville, VA 22902


                         Hershey Equipment Company
                         255 Plane Tree Drive
                         Lancaster, PA 17603


                         Hoodz
                         19478 Brandy Road
                         Brandy Station, VA 22714


                         HopUnion
                         203 Division Street
                         Yakima, WA 98902


                         Hunter Smith
                         738 Lexington Ave
                         Charlottesville, VA 22902
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                         In Touch Labels & Packaging
                         30 Payton Street
                         Lowell, MA 01852


                         Independent Brewers Alliance
                         P. O. Box 454
                         Rumson, NJ 07760


                         Ingersoll Rand, Inc.
                         402 Edwardia Drive
                         Greensboro, NC 27409


                         Iron Heart Canning Co.
                         P. O. Box 986500
                         Boston, MA 02298


                         J. R. Hadley
                         214 Harvest Drive
                         Charlottesville, VA 22903


                         Jasper Yeast
                         23600 Overland Drive Ste# 150
                         Sterling, VA 20166


                         Little Concrete Services
                         6005 Union Mills Road
                         Troy, VA 22974


                         Logistic Dynamics
                         P. O. Box 975297
                         Detroit, MI 48267-5297


                         McGuire Woods, LLP
                         323 Second St. SE Ste#700
                         Charlottesville, VA 22902


                         MicroStar Keg Managment
                         P. O. Box 912392
                         Denver, CO 80291-2857


                         Niagara Label
                         12715 Lewis Road
                         Akron, NY 14001


                         O'Connor Property Management LLC
                         OCT Stonefield Property Owner #1
                         240 Royal Palm Way Ste# 200
                         Palm Beach, FL 33480


                         Orchestra Software
                         420 Linden St. Ste# 200
                         Fort Collins, CO 80524
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                         PBM Ice House
                         c/o Tiger Lily Capital LLC
                         200 Garrett St., Ste O
                         Charlottesville, VA 22902


                         Peter C. Fenlon, Jr.
                         804 Elliott Ave
                         Charlottesville, VA 22902


                         Piedmont Facilities Management
                         2811 Hydraulic Rd.
                         Charlottesville, VA 22901


                         ProLift Garage Doors
                         126 Garrett St. Ste J
                         Charlottesville, VA 22902


                         Receivables Control Corp.
                         7373 Kirkwood Court Ste# 200
                         Maple Grove, MN 55369


                         Reliant Fish Company
                         7701 Assateague Drive
                         Jessup, MD 20794


                         Roberts Oxygen Co., Inc.
                         P. O. Box 5507
                         Derwood, MD 20855


                         Sam Rust Seafood, Inc.
                         620 Regional Drive
                         Hampton, VA 23661


                         Scott Kroner PLC
                         418 E. Water Street
                         Charlottesville, VA 22902


                         Sequoia Insurance
                         8948 Canyon Falls Blvd. Ste# 200
                         Twinsburg, OH 44087


                         Servpro of Charlottesville
                         P. O. Box 7283
                         Charlottesville, VA 22906


                         SKA Fabrication
                         Attn: Bradley T. Frazier, Esq.
                         P.O.Box 163
                         Rico, CO 81332


                         Skyline Tent
                         1327 Carlton Ave
                         Charlottesville, VA 22902
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                         Southeast Industrical Equipment
                         P. O. Box 63230
                         Charlotte, NC 28263-3230


                         Square Peg Project Management
                         809 Bolling Ave Unit C
                         Charlottesville, VA 22902


                         Standard Produce Co.
                         140 Garrett St.
                         Charlottesville, VA 22902


                         Sysco
                         P. O. Box 20020
                         Harrisonburg, VA 22801


                         T & N Printing
                         205 12th St. NE
                         Charlottesville, VA 22902


                         The Leviton Law Firm
                         One Pierce Place Ste# 725W
                         Itasca, IL 60143


                         Toast Capital Web Bank
                         401 Park Drive
                         Boston, MA 02215


                         Tony Smith
                         711 Evergreen Ave
                         Charlottesville, VA 22902


                         U. S. Small Business Administration
                         400 N. 8th Street Ste# 1150
                         Richmond, VA 23219


                         U.S. Small Business Administration
                         409 Third Street, SW
                         Washington, DC 20024


                         Uline
                         P. O. Box 88741
                         Chicago, IL 60680-1741


                         Valley Restaurant Repair, Inc.
                         1983 Jefferson Highway
                         Fishersville, VA 22939


                         Verliance
                         43525 Ridge Park Drive Ste# 300
                         Temecula, CA 92590


                         Vermont Information Processing
                         402 Watertower Circle
                         Colchester, VT 05446
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                         Veteran Draft Services, LLC
                         2931 Taylor Spring Lane
                         Harrisonburg, VA 22801


                         Videojet
                         1500 Mittel Blvd.
                         Wood Dale, IL 60191


                         Virginia Employment Commission
                         P. O. Box 27592
                         Richmond, VA 23261-7592


                         Virginia Linen Service
                         702 B Railroad Ave
                         Bedford, VA 24523


                         Virginia Pacific Investments, LLC
                         Attn: Allan H. Cadgene, Esq.
                         2088 Union Street Ste# 1
                         San Francisco, CA 94123


                         W. A. Lynch Roofing Co., Inc.
                         1234 River Road
                         Charlottesville, VA 22901


                         Wegmans Food Markets, Inc.
                         100 Wegmans Market Street
                         Rochester, NY 14624


                         West Rock
                         1000 Abernathy Road, NE
                         Atlanta, GA 30328


                         Wilson A. Richey
                         1883 Pine Cone Circle
                         Charlottesville, VA 22901


                         Wine & Beer Supply, LLC
                         12015 North Lakeridge Pkwy. Ste# 100
                         Ashland, VA 23005


                         WNRN
                         2250 Old Ivy Road Ste# 2
                         Charlottesville, VA 22903-4820


                         Woodward Properties
                         224 14th Street N.W.
                         Charlottesville, VA 22903


                         Yakima Quality Hops
                         5201 W. Chestnut Ave
                         Yakima, WA 98908


                         YCH Hops
                         306 Division Street
                         Yakima, WA 98902
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                                                                     United States Bankruptcy Court
                                                                         Western District of Virginia
  In re      Champion Brewing Company                                                                   Case No.
                                                                                     Debtor(s)          Chapter    7




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Champion Brewing Company in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  January 29, 2024                                                       /s/ Robert Stevens
 Date                                                                    Robert Stevens
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for Champion Brewing Company
                                                                         Stevens Law Firm
                                                                         501 Grove Ave
                                                                         Charlottesville, VA 22901
                                                                         (434) 973-5012 Fax:
                                                                         bob@scslawfirm.com




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